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AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                           for the
                                                                Eastern District of New York

                                                                                 )
                                                                                 )
 Ronnie Elliott individually and on behalf of all others similarly               )
 situated                                                                        )
                                                                                 )
                                                                                 )
                                                                                 )
                                      Plaintiff(s)                               )
                                           v.                                    ) Civil Action No. 1:19-cv-00249
                                                                                 )
 Food For Life Baking Co., Inc.                                                  )
                                                                                 )
                                                                                 )
                                     Defendant(s)                                )
                                                                                 )

                                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)              Food For Life Baking Co., Inc.
                                                C/O SCOTT M KRAUS
                                                2991 E DOHERTY ST
                                                CORONA CA 92879



            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
  the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
  (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
  Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
   address are:                                 Sheehan & Associates, P.C. 505 Northern Blvd., #311, Great Neck, NY 11021



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.

                                                                                 DOUGLAS C. PALMER
                                                                                 CLERK OF COURT


  Date:
                                                                                         Signature of Clerk or Deputy Clerk
